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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

WlLLIAM T. sCHMITT, er al.,

Plaintiffs,
Case No. 2:18-cv-966
v. CHIEF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Elizabeth Preston Deavers

OHIO SECRETARY OF STATE
JON HUSTED, et al.,
Defendants.
OP]NION ANQ ORDER

 

This matter is before the Court for consideration of Plaintiffs Williarn T. Schrnitt and
Chad Thompson’s (“Plaintiffs”) Morionfor Temporarj) Resrraz'nz'ng Order and/or Injuncrive
Relz'ef(ECF No. 3), which the Court previously granted (ECF No. 22), extended (ECF No. 26),
and converted into a preliminary injunction, which expired on November 7, 2018 (ECF No. 28).
By order of the Court (ECF No. 28), Defendants Ohio Secretary of State John Husted and the
Portage County Board of Elections (the “Board”)_individually, Craig M. Stephens, Patricia
Nelson, Doria Daniels, and Elayne J. Cross_(“Defendants”) briefed the issue of
constitutionality of the relevant Ohio statutes. (See ECF Nos. 30, 32, 34, and 35). On December
19, 2018, the Court held oral argument to discuss reinstating the preliminary injunctive relief
granted to Plaintif‘fs. Based on the parties’ briefs and their positions at oral argument, the Court
orders permanent injunctive relief. Thus, the Court REINSTATES as a permanent injunction

the preliminary injunctive relief granted in its Opinion and Order issued on September 19, 2018.

(ECF No. 22).

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I. BACKGROUND
A. Ohio’s Ballot Initiative Scheme

The Ohio Constitution creates an initiative process for Ohio citizens. Ohio Const. Art. II,
Sec. 1. Ohio law requires petitioners of a municipality’s ordinances to submit ballot initiatives to
a county’s board of elections. O.R.C. § 3501 . 1 I(K)(l). The boards of elections “deterrnine
whether the petition falls Within the scope of authority to enact via initiative and whether the
petition satisfies the statutory prerequisites to place the issue on the ballot.” O.R.C. §

3501 .1 1(K)(2). This process is known as the “gatekeeper mechanism.” State ex rel. Walker v.
Husted, 144 Ohio St. 3d 361, 43 N. E. 3d 419, 423 (2015).

The Supreme Court of Ohio has held that boards of elections have discretion when
determining “which actions are administrative, and which are legal.” Id. “The test for
determining whether the action of a legislative body is legislative or administrative is whether
the action taken is one enacting a law, ordinance, or regulation, or executing or administering a
law, ordinance or regulation already in existence.” State ex rel. N. Main St. Coalz'tz'on v. Webb,
2005-Ohi0-5009, 106 Ohio St.3d 437, 835 N. E. 2d 1222 (quoting Donnelly v. Faz`rview Park
(1968), 13 Ohio St.2d 1, 42 0.0.2d 1, 233 N. E. 2d 500, paragraph two ofthe syllabus).
Legislative actions are appropriate for the initiative process; administrative actions are not. See
O.R.C. §§ 3501.38(M)(1) and 3501.39(A)(3).1

When a board of elections approves an initiative petition, citizens opposing the petition’s
validity (and therefore, the board of elections’ decision) have an original cause of action for
review in the Supreme Court of Ohio. Ohio Const. Art. II, Sec. 1 g. In contrast, when a board of

elections or the Ohio Secretary of State rejects a petitioner’s ballot initiative for a substantive

 

1 The Court does not address whether Plaintiffs’ ballot initiatives implicated administrative or legal actionsl
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reason, e.g., whether the proposed legislation is administrative versus Iegislative, neither the
Ohio Constitution nor state laws provide a remedy.2

Thus, a party aggrieved by a rejected initiative petition has no right, by statute or
otherwise, to a review of the executive board’s legal conclusion. An aggrieved petitioner may
seek a writ of mandamus, which is wholly separate from an appeal of right, since a writ is an
extraordinary remedy that is discretionary and “Will not issue to prevent an erroneous judgment,
or to serve the purpose of appeal, or to correct mistakes of the lower court in deciding questions
Within its jurisdiction.” State ex rel. Sparto v, Juvem`le Court of Darke County (1950), 153 Ohio
St. 64, 65, 90 N. E. 2d 598.

Under Ohio law, to be entitled to a writ of mandamus, a petitioner must prove, by clear
and convincing evidence: (1) a clear legal right to the requested relief, (2) a clear legal duty on
the part of the board of electors to provide the requested relief, and (3) the lack of an adequate
remedy at law. State ex rel. Khumprakob v. Mahoning Cly. Bd. of Elections, 2018-Ohi0-1602, -
N. E. 3d _ (citing State ex rel. Waters v. Spaeth, 2012-Ohio-69, 131 Ohio St. 3d 55, 960 N. E. 2d
452, 11 6, 13). Only the Ohio Supreme Court of Ohio or the courts of appeals have original
jurisdiction in mandamus. Ohio Const. Art. IV, §§ 2(B)(1)(b), 3(B)(1)(b); see State ex rel. Jones
v. Husted, 2016-Ohio-5752, 149 Ohio St.3d 110, 73 N. E. 3d 463. When the Supreme Court of
Ohio or a court of appeals reviews a decision by a county board of elections, the court may only
issue the writ if the board “engaged in hand or corruption, abused its discretion, or acted in clear

disregard of applicable legal provisions.” Jones, 149 Ohio St.3d at 11 4 (citing State ex rel.

 

2 See Sz‘ate ex rel. lanes v. Husted, 149 Ohio St.3d 110, 73 N.E.3d 463 (2016)1] 24 (“By its plain language, Section
lg creates a cause of action to challenge, that is, to oppose signatures and part-petitions. It does not create a broader
cause of action only to challenge decisions by the secretary or the county boards to reject petitions. That cause of
action still falls under this court's original mandamus jurisdiction.”) Here, Plaintiffs' fall under the latter scenario.
That is, the Portage County Board rejected Plaintiffs' decision. Therefore, Plaintift`s' only state-court remedy exists
in mandamus before either the Supreme Court of Ohio or the courts of appeals.

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Jacquemin v. Um`on Cty. Bd. ofElections, 147 Ohio St.3d 467, 2016-Ohio-5880, 67 N. E. 3d

759, 11 9).
B. Relevant Facts

In 2018, PlaintiHs circulated ballot initiatives in two Ohio villages: Garrettsville and
Windham. Both ballot initiatives proposed identical ordinances, which essentially
decriminalized marijuana possession by reducing criminal fines to $0, removing all
consequences related to drivers’ licenses, and reducing court costs to $0. Plaintiffs acquired the

necessary number of signatures and submitted the ballot initiatives to the Board. The Board’s

minutes state:

Staff presented a list of ballot issues for the November 6, 2018 ballot. Denise
Smith, Chief Assistant Prosecutor addressed questions about two initiative
petitions regarding marijuana penalties filed for Garrettsville Village and
Windharn Village. Stafi` reported that both initiative petitions had a sufficient
number of valid elector signatures Both initiative petitions have identical
language and seek to decriminalize marijuana by proving for no monetary fines,
no license suspension and no court costs for misdemeanor marijuana offenses
Denise indicated that the Prosecutor’s Office will not sign off on the ballot
language and does not believe the initiative petitions are appropriate for the ballot
because the initiatives are administrative in nature, rather than legislative
Administrative actions are not appropriate for initiative petitions

Denise indicated that the decision is ultimately up to the Board. Ms. Daniels
moved that the initiative petitions regarding marijuana penalties for Garrettsville
Village and Windharn Village not be certified to the November 6, 2018 General
Election ballot Second by Ms. Cross.

ROLL CALL:
Ms. Nelson _ Yes
Ms. Daniels _ Yes
Ms. Cross _ Yes

Pl.’s Compl., Ex. 3 (ECF No. 1). Therefore, the Board rejected Plaintiff`s’ proposed initiatives
The Board then advised Plaintiffs that their initiatives had been rejected, stating:

In State ex rel. Sensible Norwood v. Hamz'lton County Board ofElections, 2016-
Ohi0-5919, the Ohio Supreme Court said administrative actions are not subject to

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initiative. Reviewing the language in the proposals presented by the Village of

Garrettsville and the Village of Windham, the $0 and no license consequences are

administrative in nature. The $O court costs is administrative in nature and is an

impingement on the judicial function by a legislature Accordingly, as the

Garrettsville Village and Windham Village petitions deal with subject matter that

is not subject to the initiative process, the Board of Elections, in its discretion, has

chosen not to certify these issues to the ballot
Pl.’s Compl., Ex. 4 (ECF No. 1).
C. Procedural History

On August 28, 2018, Plaintiffs filed their Complaint (ECF No. 1) and Motionj?)r
Temporary Restraz'ning Order and/or Prelimz`nary Injunctz'on (ECF No. 3). On September 19,
2018, the Court granted Plaintiff`s a temporary restraining order (ECF No. 22), which directed
Defendants to place both initiative petitions on the November 6, 2018 ballot. The Court then
held a telephone status conference during Which the parties consented to converting the
temporary restraining order to a preliminary injunction, which would expire on November 7,
2018_the day after the election. (ECF No. 28). Subsequently, the parties briefed the
constitutionality of the Ohio laws at issue, and the Court held oral argument on December 19,
2018. (ECF Nos. 30, 32, 33, 34, 35). At the December 19, 2018 hearing, the parties stipulated
that Plaintiff`s’ motion for injunctive relief is ripe for review because Plaintiff`s intend to submit
identical initiative petitions in upcoming voting cycles.

II.

Federal Rule 65 of Civil Procedure allows a party to seek injunctive relief if the party
believes that it will suffer irreparable harm or injury. Fed. R. Civ. P. 65. To determine whether
injunctive relief should be issued, the Court considers these four factors: (1) Whether the movant

has a strong likelihood of success on the merits; (2) whether the movant would otherwise suffer

irreparable injury; (3) whether granting the injunction would cause substantial harm to others;

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and (4) whether the public interest would be served by issuing the injunction McPherson v.
ll¢!ichigan High School Athletic Ass 'n, 119 F.3d 453, 459 (6th Cir. 1997) (en banc).

These factors are not prerequisites; each must be weighed against the others Id. at 459.
“Although no one factor is controlling, a finding that there is simply no likelihood of success on
the merits is usually fatal.” Gonzales v. Nat'l Bd. of Med. Exam'rs, 225 F.3d 620, 625 (6th Cir.
2000). A district court is required to make specific findings concerning each of the factors
unless fewer are dispositive of the issue. Performance Unlimited v. Questar Publr‘shers, Inc., 52
F.3d 1373, 1381 (6th Cir. 1995).

“The standard for a preliminary injunction is essentially the same as for a permanent
injunction except that the plaintiff must show actual success on the merits rather than a
likelihood of success.” Gas Natural Inc. v . Osbome, 624 Fed. Appx. 944, 948 (6th Cir. 2015)
(citing Am. Civz'l Libertz'es Um'on of Ky. V. McCreary Cly., 607 F.3d 439, 445 (6th Cir. 2010)).
When a plaintiff seeks a permanent injunction, “[a]n evidentiary hearing is typically required
before an injunction may be granted, but a hearing is not necessary where no triable issues of fact
are involved.” United States v. rl/Iiamz' University, 294 F.3d 797, 815 (6th Cir. 2002) (citing
United States v. McGee, 714 F.3d 607, 613 (6th Cir. 1983)).

III.

Plaintiffs argue that Ohio’s ballot initiative process violates their procedural due process
rights guaranteed by the United States Constitution. To establish a procedural due process clairn,
a plaintiff must show that “(l) it had a life, liberty, or property interest protected by the Due
Process Clause; (2) it was deprived of this protected interest; and (3) the state did not afford it

adequate procedural rights.” Daz°ly Services, LLC v. Valenzino, 756 F.3d 893, 904 (6th Cir.

2014).

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1. Libertv Interest Protected bv the Due Process Clause

The right to initiate legislation through the initiative process is not derived from the
United States Constitution. Taxpayers Unitedji)r Assessment Cuts v. Austz'n, 994 F.2d 291, 295
(6th Cir. 1993). Once a state creates an initiative process, however, the state may not restrict the
process in any manner that violates the Constitution. Meyer v. Grant, 486 U.S. 414, 108 S. Ct.
1886, 100 L. Ed. 2d 425 (1988); Austin, 994 F.2d at 295 (“although the Constitution does not
require a state to create an initiative petition procedure, if it creates such a procedure, the state
cannot place restrictions on its use that violate the federal Constitution”). Ohio’s has created a
ballot initiative process for its citizens See O.R.C. § 3501.11(1()(1). Therefore, Ohio cannot
restrict that process in any manner that violates the Constitution.

Defendants argue Plaintiffs have no right for placement of the proposed legislation on the
ballot and therefore Plaintiff`s lack any threatened liberty interest This argument is not well
taken. Plaintiffs do not claim they have a substantive right to appear on the ballot Plaintiffs
contend that Ohio’s ballot initiative framework fails to provide procedural due process
2. D§privation of the Lib@ lnterest Without Adeguate Procedural Rights

“An essential principle of due process is that a deprivation of life, liberty, or property ‘be
preceded by notice and opportunity for hearing appropriate to the nature of the case.’ ”
Cleveland Board of Educatr'on v. Loudermz'll, 470 U.S. 532, 542, 105 S. Ct. 1487, 84 L. Ed. 2d
494 (1985) (quoting Mulane v. Central Hanover Bank & T rust Co., 339 U.S. 306, 313 (1950)).
When a liberty interest is at stake, “procedural due process generally requires that the state
provide a person with notice and an opportunity to be heard before the deprivation occurs.”
Center for Powell Crossz'ng, LLC v. Cilj/ of Powell, Ohio, 173 F. Supp. 3d 639, 657 (S.D. Ohio

2016) (citing Warren v. City ofAthens, 411 F.3d 697, 708 (6th Cir. 2005)).

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Plaintiffs argue they Were deprived of their right to participate in Ohio’s initiative process
without the right to adequate review in the courts of Ohio. In contrast, Defendants contend that
mandamus is a constitutionally sufficient remedy for review of an allegedly unconstitutional
deprivation of ballot access The Court disagrees

In procedural due process cases, the Sixth Circuit directs courts to determine Whether the
deprivation of a liberty interest is a result of “an established procedure” or is “pursuant to a
random and unauthorized act” of a state employee. Daily Servz'ces, LLC v. Valentz'no, 756 F.3d
893, 907 (6th Cir. 2014); Wedgewood Ltd. Partnership v. Township ofLiberly, Ohr'o, 610 F.3d
340, 349-50 (6th Cir. 2010). “If the former, then it is both practicable and feasible for the state
to provide pre-deprivation process, and the state must do so regardless of the adequacy of any
post-deprivation remedy....” Walsh v. Cuyahoga County, 424 F.3d 510, 513 (6th Cir. 2005)
(internal quotations and citations omitted).

The gatekeeping function is based on Ohio’s constitution and statutory framework,
rendering it “arl established procedure.” Accordingly, it is both practicable and feasible for Ohio
to provide a meaningful right to review of the decision rendered by the Board of Elections.
lndeed, Ohio already applies a de novo standard When reviewing executive agencies’ legal
determinations in other contexts See Akron City School Dist. Bd. ofEducation v. Summz`t Cly.
Bd. ofRevz'sion, 2014-Ohio-1588, 139 Ohio St.3d 92, 9 N. E. 3d 1004, 1111 10»~11; see also
Gahanna-Jeyjferson Local School Dz'st. Bd. ofRevision, 93 Ohio St.3d 231, 232, 754 N. E. 2d 789
(2001). ln the ballot initiative process, however, the State of Ohio has not provided Plaintiffs an
adequate review process lnstead, the gatekeeping function enables a board of elections-an
executive body_to make legal determinations without providing denied petitioners a right to

review. The only possibility of review requires an aggrieved petitioner to convince a court of

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appeals or the Supreme Court of Ohio to exercise its discretion under heightened standards 3
Plaintiff`s contend that the refusal of the Board to certify a vote on the legislation without a right
to review by a judicial body violates Plaintiffs’ constitutionally protected liberty interest

No doubt, Ohio has strong interests in ensuring its elections are run fairly and efficiently.
Buckley v. Am. Constitutional Law Found., 525 U.S. 182, 191 (1999); Taxpayers Unitedfor
Assessment Cuts v. Austin, 994 F.2d 291, 297 (6th Cir. 1993). Ohio also has a strong interest in
placing on the ballot only such proposed legislation as would be lawful as municipal legislation
under Ohio Const. Art. XVIII, Sec. 3. Allowing votes on matters unlawful or unenforceable on
their face could erode public confidence in Ohio’s entire initiative process

Recognizing those interests, the Court finds no legitimate state interests in Withholding an
adequate legal remedy for petitioners denied ballot access by a board of elections “Although a
state has a Wide scope in regulating the franchise, it is not permitted to adopt any standard it
desires, but it is limited by the strictures of the federal and state constitutions . . .” 25 Am. Jur. 2d
Elections § 98. Given the availability of mandamus relief is extraordinary and only exercised
when the law does not otherwise provide an adequate remedy, the high burden on petitioners to
prove entitlement to an extraordinary remedy is no substitute for de novo review of the denial of
a constitutionally protected liberty interest Therefore, the Court finds Plaintiff`s prevail on their

constitutional challenge to Ohio’s ballot initiative process4

 

3 In State ex rel. Max¢y v. Saferin, three dissenting Ohio Supreme Court Justices highlighted “the uncertainty
regarding the constitutionality ofthe amendments to R.C. 3501.11 made by H.B. 463.” --- Ohio St. 3d ---, 2018-
Ohio-4035, --- N. E. 3d ---, at 11 52. InMaxcy, the Supreme Court of Ohio found that county boards of elections lack
authority to review the substance of a proposed municipal charter amendment In so holding, the majority observed
that Article XVII, Sections 8 and 9 of the Ohio Constitution apply to municipal charter amendments rather than
Article II, Section lf, which applies to citizen-initiated legislation, 1‘. e., referendum and initiative petitions For that
reason, the majority declined to address the constitutionality of R.C. 3501.11(K). Id. at 11 13.

4 As the Court mentioned during oral argument the Boards of Elections in Ohio make many decisions that permit or
deny ballot access to candidates and petitioners The issues in this case do not involve whether the Boards of
Elections may exercise such powers The Court assumes that the Boards of Elections may exercise such powers as

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IV.
In conclusion, the Court REINSTATES and CONVERTS to permanent injunction the
preliminary injunctive relief granted in its Opinion and Order issued on September 19, 2018.

(ECF No. 22). The Court DIRECTS the Clerk to enter judgment accordingly

 

IT IS SO ORDERED.
.r~ ltv .i o \°1 /O\,
DATE EDM§D %. SARGUS, JR.
C ITED STATES DISTRICT JUDGE

 

given by the Ohio General Assembly. The sole issue in this case is whether a constitutionally adequate review is
available to a party deprived of ballot access by a Board of Elections

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